        Case 1:20-cv-08924-CM Document 666-1 Filed 07/15/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In Re: New York City Policing During
 Summer 2020 Demonstrations                              No. 20 Civ. 8924


 This Order Relates to All Cases                         PROPOSED ORDER




       WHEREAS, the Court held a conference on July 11, 2022 regarding the

procedures to be followed for high-level depositions in these Consolidated Actions, it is

hereby ORDERED as follows:

A. Defendants’ Pre-Deposition Productions

       1.     As soon as practicable after a deposition from the list of high-level

deponents is calendared, Defendants shall provide to Plaintiffs and Union-Intervenors a

list of all protests from the Amended Schedule A (attached as Exhibit 1 to this Order) (i)

at which the deponent was present, (ii) that the deponent participated in planning,

and/or (iii) that the deponent participated in an evaluation of the NYPD’s response.

       2.     No later than August 1, 2022, Defendants shall produce to Plaintiffs and

Union-Intervenors the disciplinary (IAB and CCRB) histories concerning all charges

relating to use of force, dishonesty, or unlawful arrest occurring on or after May 28,

2010 (10 years prior to the protests of 2020) for each high-level deponent noticed by

Plaintiffs. This deadline can be modified by agreement between the Parties.

       3.     No later than one week prior to the depositions, Defendants shall provide

to Plaintiffs and Union-Intervenors:
       Case 1:20-cv-08924-CM Document 666-1 Filed 07/15/22 Page 2 of 2




              a. the deponent’s full calendar from May 25-July 25, 2020 in addition to

                 all calendar entries related to any protest listed on Amended Schedule

                 A, and

              b. each text message sent or received on the deponent’s NYPD cell phone

                 concerning any protest listed on Amended Schedule A.

B. Plaintiffs’ Pre-Deposition Exchange

       One week prior to the deposition, Plaintiffs may provide all defendants, including

the Union-Intervenors, with a list of topics and case law they plan to cover in the

deposition and certain exhibits they may use, without prejudice to amendment or

supplementation at the time of deposition, and that time used during a deposition for

review of case law, documents and other exhibits not produced prior to the deposition is

not chargeable to the defendants.



Dated: July 22, 2022



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                                          Hon. Gabriel W. Gorenstein
